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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                         *   CIVIL ACTION

VERSUS                                        *   NO. 2:20-cv-2679

THE ADMINISTRATORS OF THE                     *   JUDGE GREG GERARD GUIDRY
TULANE EDUCATIONAL FUND
                                              *   MAGISTRATE KAREN WELLS ROBY

                                              *

                                          ORDER

        Considering the above and foregoing Motion;

        IT IS ORDERED that Abigail F. Gerrity (35777) be removed as counsel of record for

Princess Dennar, M.D.

        New Orleans, Louisiana, this _____ day of ________________________, 2021.



                                           ___________________________________________
                                           JUDGE




00610462.WPD;1
